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7    D. Westwood, Inc. d/b/a Treasures Gentlemen’s Club

8                                 UNITED STATES DISTRICT COURT
                                       DISTRICT OF NEVADA
9
     ARIANNY CELESTE LOPEZ, BROOKE                     Case No. 2:19-CV-01842-JCM-BNW
10   JOHNSON aka BROOKE TAYLOR,
     CAITLIN O’CONNOR, CLAUDIA
11   SAMPEDRO, DANIELLE RUIZ, IRINA
     VORONINA, JESSICA HINTON a/k/a
12   JORDAN CARVER, LINA POSADA, LUCY
     PINDER, MARIANA DAVALOS, ROSIE
13   JONES, ROSIE ROFF, SARA
     UNDERWOOD, SHEENA WEBER a/k/a                     STIPULATION AND ORDER FOR
14   SHEENA LEE, and TYRAN RICHARD,                    EXTENSION OF TIME TO ANSWER
                                                       OR OTHERWISE RESPOND TO
15                         Plaintiffs,                 PLAINTIFFS’ COMPLAINT
16           v.                                        (Seventh Request)
17   D. WESTWOOD, INC. d/b/a TREASURES
     GENTLEMEN’S CLUB,
18
                           Defendants.
19
20           Defendant D. Westwood, Inc. d/b/a Treasures Gentlemen’s Club, by and through its counsel
21   of record Wilson, Elser, Moskowitz, Edelman & Dicker, LLP, and Plaintiffs Arianny Celeste Lopez,
22   Brooke Johnson aka Brooke Taylor, Caitlin O’Connor, Claudia Sampedro, Danielle Ruiz, Irina
23   Voronina, Jessica Hinton a/k/a Jordan Carver, Lina Posada, Lucy Pinder, Mariana Davalos, Rosie
24   Jones, Rosie Roff, Sara Underwood, Sheena Weber A/K/A Sheena Lee, and Tyran Richard, by and
25   through their counsel of record, Alverson Taylor & Sanders, Attorneys at Law, hereby stipulate and
26   agree to extend the deadline for Defendant to file a response (to answer or otherwise respond) to
27   Plaintiffs’ Complaint up to and including August 14, 2020.
28           This stipulation is submitted in compliance with LR IA 6-1.

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1            This is the parties’ seventh request for extension of the deadline.

2            Good cause warrants the additional extension. Plaintiffs in this case have also filed suit with

3    other plaintiffs in other jurisdictions alleging similar claims against other businesses. To minimize

4    the parties’ fees and costs and to serve judicial economy, the parties in this case and the other cases

5    have agreed to attempt a global settlement of all cases, and settlement discussions are still ongoing.

6    With the ongoing nature of the pandemic, it is taking time for the parties to exhaust global settlement

7    efforts. Additional time is therefore necessary for the parties to complete settlement efforts. The

8    parties believe that the proposed extension should be sufficient to complete settlement efforts.

9    Dated this 24th day of July, 2020.                      Dated this 24th day of July, 2020.

10   ALVERSON TAYLOR & SANDERS                               WILSON ELSER MOSKOWITZ EDELMAN
                                                             & DICKER LLP
11

12   /s/David M. Sexton                                      /s/David S. Kahn
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16                                                           d/b/a Treasures Gentlemen’s Club
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1                                                  ORDER
2            Based upon the stipulation of the parties and good cause appearing, the deadline for

3    Defendant to respond (to answer or otherwise respond) to Plaintiffs’ complaint is extended to August

4    14, 2020.

5            IT IS SO ORDERED:

6

7    Dated: July 28, 2020

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                                                  ________________________________________
10                                                DISTRICT COURT JUDGE

11

12   Respectfully Submitted by:

13
     /s/David S. Kahn
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     d/b/a Treasures Gentlemen’s Club
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